


THE STATE OF SOUTH CAROLINA



THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2),
SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
The
State,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Respondent,
      
    
  

v.

  
    
      
John F.
Sebastian,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant.
      
    
  


Appeal From Lexington County
James R. Barber, III, Circuit Court Judge

Unpublished Opinion No. 2005-UP-231
Submitted April 1, 2005  Filed April 6, 2005

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Eleanor Duffy Cleary, of Columbia, for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, and Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Donald V. Myers, of Lexington, for Respondent.
      
    
  


PER CURIAM:&nbsp; John F. Sebastian pled guilty to leaving the scene of an accident involving death, driving under suspension (DUS), second offense, and being a habitual traffic offender.&nbsp; He was sentenced to twenty-two years for leaving the scene of an accident involving death, sixty days for DUS, and five years for being a habitual traffic offender, to be served concurrently.&nbsp; Sebastians appellate counsel filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967).&nbsp; Counsel additionally submitted a petition to be relieved from representation, asserting there are no directly appealable issues of arguable merit.&nbsp; Sebastian did not file a pro se response with the Court.
After a review of the record pursuant to Anders and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels petition to be relieved.[1]
 APPEAL DISMISSED.
 ANDERSON, BEATTY, and SHORT, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215,
SCACR.

